       Case 8:09-cr-00598-GLR            Document 518        Filed 06/10/11       Page 1 of 2



                             UNITED STATES DISTRICT COURT                             ---~:::::.
                             FOR THE DISTRICT OF MARYLAND
                                                                                          JUN      f    0 2011   D~
UNITED STATES OF AMERICA                                                                    AT GAEI:." ~ .~,
                                                                                      CLI!RK U.s. D1ST~CT COURT
                                                                                        DISTRiCT OF MARYLAND

                                                  Criminal No. A W-09-0598
                                                                                                ... -         DEf'UTY
               v.                                                                1W


CHINUA SHEPPERSON


                                   MEMORANDUM OPINION

        The court wanted to memorialize a few of its comments which were stated on June 6,
2011 at the Defendant's Sentencing.
         The Court agrees with the jury verdict and believes that the evidence presented by the
Government was strong and overwhelming. The Court further believes that Defendant's counsel
did the best he could do with what he had to work with. There was a mound of evidence
pointing to the Defendant as a member of the Latin Kings, as the pearl and clean-up guy, and the
individual who pulled the trigger and executed the decedent. As a minimum the evidence clearly
established that the Defendant was aiding, abetting and otherwise had adopted other violent acts
perpetrated by the enterprise. It is hard to imagine any act more terrible and awful than what the
Defendant did in this instance: Executing an unarmed (the descendent) man after robbing him of
his drugs and and other personal item. The hurt and pain Defendant placed upon the family and
love ones of the decedent will remain with them for the rest of their lives. In truth, there really is
not a sufficient sentence which will compensate the victims for what they have lost. While the
court's hands are tied in this case and the law requires that a life sentence is imposed upon the
Defendant, there are various sentencing principles which are applicable.
         In sentencing a defendant per Booker, the District Court must: (l) after making the
appropriate findings of fact (ruling on the objections and issues in dispute), then
properly/correctly calculate/determine the guideline range as recommended by the sentencing
guidelines; (2) determine whether a sentence within that range and within the statutory limits
serves the factors set forth in 355 3 (a) and, if not, select a sentence that does serve those factors;
(3) implement mandatory statutory limitations; and (4) articulate the reasons for selecting the
particular sentence, especially explaining/articulating why a sentence outside the Sentencing
Guideline range (particularly explaining any departure or variance) better serves the relevant
sentencing purposes set forth in 3553(a). (See United States v. Hughes 4-1 F.3d 540, 546 (4th
Cir.2005). The District Court need not discuss each factor set forth in 3553 (a) in a checklist
fashion; it is enough to calculate the range accurately and explain why (if the sentence lies
outside of it) this defendant deserves more or less.
         Under 18 USC 3553 (a) the district court must ensure that the sentence it imposes fulfills
the congressionally established objective for sentencing:(l) To punish the defendant in light of
the seriousness of the offense so as promoting respect for the law and providing just punishment
for the offense; (2) affording adequate deterrence (to deter both the defendant and others) from
criminal conduct; (3) to incapacitate the defendant and thus protect the public from further
criminal activity of the defendant; (4) to rehabilitate the defendant with needed educational or
vocational training, medical care or other correctional treatment. ..providing restitution to victims,
                                                                                                        l

       Case 8:09-cr-00598-GLR           Document 518         Filed 06/10/11      Page 2 of 2



and avoiding unwarranted sentencing disparities. Finally, in determining the sentence that
achieves these four purposes, the sentencing court must consider the seven factors indentified in
18 U.S.C.9 3553 (a) (1)-(7). Some (not all) of these include, the nature and circumstances of the
offense and the history and characteristics of the defendant and the kinds of sentence and
sentencing range established for the type of crime and circumstances attendant to this case.
        In this case, the Defendant's conduct, his participation in the criminal acts, and all of the
facts and circumstances established by the evidence in this case amply and appropriately support
the sentences imposed in this case. For these reasons, as well as the mandatory-minimum
requirements in the case, the Court imposes the sentences as are reflected in the judgment.




Dated
June 10,2011
